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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 LONE STAR TECHNOLOGICAL                        §
 INNOVATIONS, LLC,                              §
                                                §    CIVIL ACTION NO. 6:19-CV-00059-RWS
                                                §
               Plaintiff,                       §
                                                §                      LEAD CASE
 v.                                             §
   .                                            §
 ASUSTEK COMPUTER INC.,                         §
                                                §
               Defendant.                       §

                                            ORDER

       Due to scheduling conflicts, the Court CANCELS the hearing set for Wednesday, March

31, 2021 at 10 a.m. Unless the parties request otherwise, the Court intends to address any

outstanding motions at the pretrial conference currently set for Tuesday, May 4, 2021 at 10 a.m.


      So ORDERED and SIGNED this 30th day of March, 2021.




                                                        ____________________________________
                                                        ROBERT W. SCHROEDER III
                                                        UNITED STATES DISTRICT JUDGE
